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FOR THE WESTERN D|STR|CT OF TENNESSEE

 

 

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P|aintiff

VS.
CR. NO. 05-20122-D

AARON B. COBB

Defendant.

 

ORDER ON CONT|NUANCE AND SPEClFYING PERIOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on May 19, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
@port date of Thursdav. Ju|v 21. 2005. at 9:00 a.m., in Courtroom 3, 9th Floor of the
Federal Bui|ding, l\/|emphis, TN.

The period from |Vlay 19, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need fora speedy tria|.

iT is so oRDERED this Z/' day of iviay, 2005.

@9;; J:%/€/

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
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June 6, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

